                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

IN RE:
                                                                     Bankruptcy Case Number
KEITH GUFFEY,                                                        18-81430-CRJ13

       Debtor.


KEITH GUFFEY,

       Plaintiff,
                                                                     Adversary Proceeding No.
v.                                                                   18-80086-CRJ

PEOPLES BANK OF ALABAMA,

       Defendant.


     PLAINTIFF’S APPLICATION TO EMPLOY CO-COUNSEL NUNC PRO TUNC



       COMES NOW, Plaintiff Keith Guffey (“Plaintiff”), and hereby files this Application to

Employ Co-Counsel Nunc Pro Tunc in the above-styled adversary proceeding, and says as follows:

                                JURISDICTION AND VENUE

1.     On May 10, 2018, the Plaintiff filed a voluntary petition for relief under chapter 13 of title

       11 of the United States Bankruptcy Code in the United States Bankruptcy Court for the

       Northern District of Alabama, Northern Division.

2.     On August 30, 2018, Plaintiff filed this adversary proceeding against Defendant to recover

       damages he has sustained as a result of Defendant’s willful violation of the automatic stay

       in the bankruptcy case (the “Complaint”).




Case 18-80086-CRJ        Doc 17    Filed 12/05/18 Entered 12/05/18 12:50:04              Desc Main
                                   Document     Page 1 of 4
3.    This Court has jurisdiction over this Application pursuant to 28 U.S.C. § 1334(b). This is

      a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

4.    The venue of this proceeding is proper in this district pursuant to 28 U.S.C. § 1409.

                                     RELIEF REQUESTED

5.    Plaintiff desires to employ Kevin D. Heard and the law firm of Heard, Ary & Dauro, LLC,

      as co-counsel along with John C. Larsen to represent Plaintiff in this action. Mr. Heard is

      an attorney duly admitted to practice before this Court and the courts of the State of

      Alabama.

6.    Plaintiff selected Kevin D. Heard because he has considerable experience and knowledge

      in litigation of this kind and is qualified to represent Plaintiff in this matter.

7.    In the opinion of the Plaintiff, the employment of Kevin D. Heard and Heard, Ary & Dauro,

      LLC is in the best interest of the bankruptcy estate since Mr. Heard is well-qualified to act

      as counsel to represent Plaintiff in this proceeding and has accumulated a substantial

      amount of knowledge and information necessary to try the adversary proceeding.

8.    To the best of Plaintiff’s knowledge, Kevin D. Heard and Heard, Ary & Dauro, LLC have

      no connection with Plaintiff, his creditors, or any other parties in interest, or their respective

      attorneys. Furthermore, Kevin D. Heard and Heard, Ary & Dauro, LLC’s engagement is

      limited to the adversary proceeding and neither have any interest that is adverse to the

      Plaintiff or the bankruptcy estate in the matter upon which they are to be engaged.

9.    Plaintiff desires to employ Kevin D. Heard at his hourly rate of $350.00 per hour, plus

      costs actually incurred by the Plaintiff in the prosecution of this case. However, should

      there be no recovery, there will be no expense or cost charged to Plaintiff in this case, nor

      as debtor in the chapter 13 bankruptcy case.




Case 18-80086-CRJ       Doc 17     Filed 12/05/18 Entered 12/05/18 12:50:04                Desc Main
                                   Document     Page 2 of 4
10.    Plaintiff and the undersigned counsel understand that any such fee awarded to Kevin D.

       Heard and Heard, Ary & Dauro, LLC and the reimbursement of expenses at the conclusion

       of said adversary proceeding is subject to the approval of this Court.


       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that he be authorized to

employ and appoint Kevin D. Heard and the law firm of Heard, Ary & Dauro, LLC as Co-Counsel

to the Plaintiff for the purposes and under the arrangements as herein above described, and that

this Honorable Court enter its order approving said employment and the terms of payment thereof

as described in the preceding paragraphs of this application, nunc pro tunc with an effective date

of August 30, 2018, and that the Plaintiff has such other and further relief as is just and proper.


       Respectfully submitted this 5th day of December, 2018.


                                                      /s/ Kevin D. Heard
                                                      Kevin D. Heard
                                                      Co-Counsel for Plaintiff
Of Counsel:
HEARD, ARY & DAURO, LLC
303 Williams Avenue SW
Park Plaza, Suite 921
Huntsville, Alabama 35801
(256) 535-0817
kheard@heardlaw.com


                                                      /s/ John C. Larsen
                                                      John C. Larsen
                                                      Lead Counsel for Plaintiff
Of Counsel:
LARSEN LAW, PC
1733 Winchester Road
Huntsville, Alabama 35811
Tel: (256) 859-3008
john@jlarsenlaw.com




Case 18-80086-CRJ        Doc 17     Filed 12/05/18 Entered 12/05/18 12:50:04              Desc Main
                                    Document     Page 3 of 4
                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 5th day of December, 2018, I served a copy of the foregoing
on the parties listed below through electronic filing with the Clerk of Court using the CM/ECF
system, which will send notification of such filing to all counsel of record, and/or by mailing same
by United States mail, properly addressed, and first-class postage prepaid:

Kevin M Morris
SPARKMAN, SHEPARD & MORRIS P.C.
Counsel for Plaintiff
P O Box 19045
Huntsville, AL 35804
256 512-9924
kevin@ssmattorneys.com

Michele T. Hatcher
Chapter 13 Trustee
P.O. Box 2388
Decatur, AL 35602
Tel: (256) 350-0442
ecf@ch13decatur.com
                                                     /s/ Kevin D. Heard
                                                     Kevin D. Heard




Case 18-80086-CRJ        Doc 17    Filed 12/05/18 Entered 12/05/18 12:50:04             Desc Main
                                   Document     Page 4 of 4
